              Case 2:14-cr-00043-KJM Document 94 Filed 09/03/14 Page 1 of 2


 1   TASHA PARIS CHALFANT, SBN 207055
     3175 Sunset Blvd., Suite 109
 2
     Rocklin, California 95677
 3   Telephone: (916) 444-6100
     Fax:          (916) 930-6093
 4   E-Mail:       tashachalfant@gmail.com
 5
     Attorney for Defendant
 6   JUDY RUTH MULLIN
 7
 8               IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,
13                                                    CR NO. 2:14-CR-00043 KJM
                                Plaintiff,
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                                                      MOTION FOR USMS TO PAY FOR
15                  v.                                DEFENDANT’S TRANSPORATION
                                                      FROM BURBANK, CALIFORNIA TO
16
     EDWIN FORREST LUDWIG IV,                         SACRAMENTO, CALIFORNIA, ONE
17                                                    NIGHT LODGING AND RETURN
                   Defendant.                         TRANSPORTATION FROM
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                                                      SACRAMENTO, CALIFORNIA TO
19                                                    BURBANK, CALIFORNIA AND
                                                      ORDER
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            Ms. Mullin is a resident of Woodland Hills, California. She is scheduled for a
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     status conference court appearance on September 10, 2014 and I would also like to take
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     this opportunity to meet with my client to discuss the case. She is indigent and without
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     sufficient financial resources to travel to court and return to Woodland Hills on her own.
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     I have learned from other lawyers in this district that in situations like this, the U.S.
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     Marshals Service are able to pay for transportation for defendants if they have a Court
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     order directing them to do so. Therefore, Ms. Mullin requests the court to issue an order



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                Case 2:14-cr-00043-KJM Document 94 Filed 09/03/14 Page 2 of 2


 1   directing the U.S. Marshals Service to pay for the defendant’s transportation from
 2   Burbank, California (the closest airport to Woodland Hills, California), one night
 3   lodging, and the return transportation from Sacramento, California to Burbank, California
 4   because she is indigent and unable to pay for the costs of transporation and lodging on
 5   her own.
 6                                                         Respectfully submitted,
 7
 8   Dated: September 2, 2014                              /s/ Tasha Paris Chalfant
                                                           TASHA PARIS CHALFANT
 9
                                                           Attorney for Defendant
10                                                         JUDY RUTH MULLIN
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13         IT IS SO ORDERED
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16   Dated: September 2, 2014
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